1. Where one charged with a criminal offense is represented in court by an attorney of his own choice, and such attorney enters a plea of guilty without protest from the accused, and the court thereupon imposes sentence, he is not entitled to a discharge from custody thereafter upon the ground that his attorney entered the plea of guilty without his consent and over his protest.
2. The accused having entered a plea of guilty to the charge of murder, and the presiding judge having sentenced him to life imprisonment, it must be presumed, in the absence of anything to the contrary, that the presiding judge did his duty, and, therefore, determined at the time the plea was entered that the evidence against the accused was entirely circumstantial. Hence, the sentence to life imprisonment under the murder charge was authorized in the discretion of the presiding judge and valid in law, and the judge did not err in denying the habeas corpus and in remanding the prisoner to the custody of the respondent.
                        No. 15785. MAY 15, 1947.
The petition of D.C. (Dock) Archer against A. A. Clark, as Warden of Fulton County, alleges that the petitioner was illegally detained by the defendant and was confined in the penitentiary of Fulton County; and that the petitioner was being held in virtue of a sentence of life imprisonment imposed by Judge Pomeroy of the Superior Court of Fulton County on April 7, 1943. It is alleged that the petitioner was indicated on March 9, 1943, for the offense of murder; that he employed J. O. Ewing, an attorney at law, to represent him, and that on April 7, 1943, his attorney, *Page 230 
Ewing, signed a plea of guilty, and the court immediately imposed the sentence of life imprisonment. The petition alleges that he was not guilty of the offense charged in the indictment; that he protested against his attorney's entering the plea of guilty; and that he never authorized the attorney to enter the plea and never consented thereto. It is alleged that his attorney would not allow him to make any explanation to the court, and that the court for this reason did not know the truth. It is alleged that he has a valid defense to the charge, that the sentence imposed is null and void for the reason that the plea of guilty was not entered by the petitioner or by anyone authorized by the petitioner to do so, and that he is being held and punished under a void sentence; and he prays that he be discharged from custody.
Upon the trial the court record of the petitioner's indictment, the plea and sentence were introduced in evidence, and the petitioner testified at length in general support of the allegations of the petition. His testimony is to the effect that he knew his attorney, whom he had employed to represent him, was entering a plea of guilty, yet that he desired and sought to make a statement to the court, but failed to do so because his attorney would interrupt him and prevent his making any statement, and that he had only now become able to employ other counsel and seek his liberty by this proceeding. Other evidence not material to a decision here was introduced. The judge entered a judgment denying the habeas corpus and remanding the prisoner to the custody of the respondent, and the exception here is to that judgment.
1. In the Code, § 27-1404, after requiring that one charged with a crime be arraigned, it is said that "he shall be required to answer whether he is guilty or not guilty of the offense charged in the indictment, which answer or plea shall be made orally by the prisoner or his counsel. If he shall plead `guilty,' such plea shall be immediately recorded on the minutes of the court by the clerk, together with the arraignment." Here is express legislative recognition of the authority of an attorney at law to speak for his client in open court and for the court to act *Page 231 
thereon. It would be trifling with the court to allow the client, after keeping silent in the presence of the court while his attorney entered a plea of guilty in his behalf and the court acting thereon imposed the sentence, to deny thereafter the authority of his attorney to enter the plea or to deny his approval of such action by his attorney. Had he had any objection, he should have made it known at the time and before the court acted thereon. Cawthon v. State, 119 Ga. 395
(46 S.E. 897); Frank v. State, 142 Ga. 741 (83 S.E. 645, L.R.A. 1915D, 817); Kinman v. Clark, 185 Ga. 328
(195 S.E. 166); Mathis v. Scott, 199 Ga. 743 (35 S.E.2d 285).
2. Under the Code, § 26-1005, the presiding judge is authorized to sentence an accused in a murder case to life imprisonment where the conviction is founded solely upon circumstantial evidence. Also, under the Code, § 27-1404, it is provided that, where the defendant shall enter a plea of guilty, "the court shall pronounce upon such prisoner the judgment of the law, in the same manner as if he had been convicted of the offense by the verdict of a jury." Having such authority, there is no reason why this discretion of the presiding judge could not be exercised in behalf of an accused where a plea of guilty is entered, and we so hold here. The accused having entered a plea of guilty to the charge of murder, and the presiding judge having sentenced him to life imprisonment, it must be presumed, in the absence of anything to the contrary, that the presiding judge did his duty, and that he, therefore, determined at the time the plea was entered that the evidence against the accused was entirely circumstantial. Hence, the judgment under the murder charge is valid, and the judge did not err in denying the habeas corpus and in remanding the prisoner to the custody of the warden.
Judgment affirmed. All the Justices concur.